          CASE 0:16-cv-02401-SRN-HB Doc. 138 Filed 03/07/18 Page 1 of 2




                        UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA




 GRUPO PETROTEMEX, S.A. DE                )
 C.V. and DAK AMERICAS LLC,               ) Civil Action No. 16-cv-02401 SRN/HB
                                          )
                      Plaintiffs,         ) POLYMETRIX’S LR 7.1(a)(1) MEET-
 v.                                       ) AND-CONFER STATEMENT
                                          )
                                          )
 POLYMETRIX AG,                           )
                                          )
                      Defendant.          )
                                          )
                                          )

      I, Todd A. Noah, representing Defendant Polymetrix AG (“Polymetrix”), hereby

certify that I have met conferred with counsel for Plaintiffs Grupo Petrotemex, S.A. de

C.V. and DAK Americas LLC (“GPT/DAK”), Eric Schweibenz and John Presper, on

March 7, 2018. The parties were unable to agree on resolution of all or part of the

motion.


Dated: March 7, 2018                              Respectfully Submitted,

                                                  DERGOSITS & NOAH LLP


                                          By:       /s/ Todd A. Noah
                                                  Todd A. Noah (Pro Hac Vice)
                                                  One Embarcadero Center, Suite 350
                                                  San Francisco, CA 94111
                                                  (415) 705-6377
                                                  tnoah@dergnoah.com


                                            -1-
CASE 0:16-cv-02401-SRN-HB Doc. 138 Filed 03/07/18 Page 2 of 2




                                   FAEGRE BAKER DANIELS LLP
                                   Theodore M. Budd, MN Bar No. 314778
                                   Timothy M. Sullivan, MN Bar No. 391528
                                   2200 Wells Fargo Center
                                   90 South Seventh Street
                                   Minneapolis, MN 55402-3901
                                   (612) 766-7000
                                   ted.budd@faegrebd.com

                                   Attorneys for POLYMETRIX AG




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